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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS


ALLIANCE FOR AUTOMOTIVE                     )
INNOVATION,                                 )
                                            )     CIVIL ACTION NO.
                   Plaintiff,               )     20-12090-DPW
vs.                                         )
                                            )
                                            )
MAURA HEALEY, ATTORNEY                      )
GENERAL OF THE COMMONWEALTH                 )
OF MASSACHUSETTS,                           )
in her official capacity,                   )
                                            )
                                            )
                   Defendant.               )


                                PROCEDURAL ORDER
                                   April 15, 2022

      The resurgence of a demanding criminal trial schedule, together with the

parallel resumption of long delayed in-court non-trial proceedings when

coupled with continuing insistent writing responsibilities in other matters,

requires me regretfully to advise the parties that the date by which I can fairly

commit to the filing of Findings of Fact and Conclusions of Law to resolve this

matter on the merits in this court must again be extended. Without restating

the previous procedural orders that caused me, while attempting to

reconstitute an orderly docket, to delay issuance of the fully developed opinion

by me that the complexities of this case require, I must for those fundamental

reasons again do so.   Accordingly, the Defendant is invited to make a Further

Modified Stipulation to adjust the relevant date necessary for an appropriate
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period of consideration in support of a fully satisfactory opinion until no later

than July 1, 2022, to bring this case to an appealable final judgment.




                                      /s/ Douglas P. Woodlock__ __
                                      DOUGLAS P. WOODLOCK
                                      UNITED STATES DISTRICT JUDGE




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